
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 96-1078

                                 SHARON WOOD ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                               JAMES R. CLEMONS ET AL.,

                                Defendants, Appellees.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

               John  S. Whitman,  with  whom Richardson,  Whitman, Large  &amp;
               ________________              ______________________________
          Badger was on brief, for appellants.
          ______

               Diane Sleek,  Assistant Attorney  General, with whom  Andrew
               ___________                                           ______
          Ketterer, Attorney General of Maine, was on brief, for appellees.
          ________

                                 ____________________

                                    July 22, 1996
                                 ____________________






















                  LYNCH,  Circuit Judge.    Officers  at a  Maine  prison
                          _____________

            received  a tip that a female inmate's teenage children would

            be   smuggling  drugs   into   the  prison   in  her   infant

            granddaughter's booties.   The superintendent of  the prison,

            erroneously believing that the tip  had been confirmed by two

            unconnected  confidential  informants,  authorized   a  strip

            search of the visitors.  In actuality, the tip had originated

            from a single anonymous and uncorroborated source.  The strip

            search  of   the  plaintiff   minors  turned  up   no  drugs.

            Plaintiffs brought  suit against the  superintendent and  the

            Commissioner of the Maine  Department of Corrections under 42

            U.S.C.   1983.1  The  sole question on appeal is  whether the

            district  court correctly  entered  summary  judgment on  the

            plaintiffs'  damages claim  in  favor  of the  superintendent

            based on his assertion of the qualified immunity defense.  We

            conclude that the  constitutionality of prison-visitor  strip

            searches is governed by  the standard of reasonable suspicion

            and  that  a  reasonable  official  in  the  superintendent's

            position  could have  believed, in  light of  the information


                                
            ____________________

            1.  The named plaintiffs  in this action are Sharon Wood; her
            son Philip Thamert; her daughter  Katrina Thamert, on her own
            behalf  and as  parent of  Maria Thamert;  and John  and Mary
            Foss, as parents and next friends of Michelle Hatch,  Phillip
            Thamert's girlfriend.  They purport to assert their claims on
            behalf of  a statewide class  of individuals affected  by the
            alleged  strip-search  policies  of  the  Maine  Correctional
            Center  ("MCC").    The  defendants  are  James  R.  Clemons,
            Superintendent of the MCC,  and Donald L. Allen, Commissioner
            of the Maine Department of Corrections.

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                                          2















            before him, that the searches did not violate the plaintiffs'

            constitutional rights.  Accordingly, we affirm.


                                          I

                  The record, viewed in the  light most favorable to  the

            plaintiffs, reveals the following.   Since September of 1993,

            Sharon  Wood had  been an  inmate  at the  Maine Correctional

            Center ("MCC")  in Windham, Maine, serving  a three-year term

            of confinement for a drug-related conviction.  From the  time

            she   was  first   incarcerated   there,   she  was   visited

            approximately  every other  week by  her son  Phillip Thamert

            (then seventeen  years of age), her  daughter Katrina Thamert

            (then sixteen), and Phillip's girlfriend Michelle Hatch (then

            seventeen).   On each visit, Katrina brought along her infant

            daughter  Maria (then  seven months  old).   Nothing happened

            during any of these visits to arouse any suspicion of illegal

            activity on  the part of Wood  or her visitors.   Wood had no

            record of drug violations while at MCC.

                  The  events  leading  to the  strip  search  of  Wood's

            visitors  began with a telephone call to the MCC by Detective

            Peter   Herring,  the  State  Police  Department's  appointed

            liaison  to  the prison.   On  a  "large number"  of previous

            occasions,   Herring   had   provided  MCC   officials   with

            information obtained from his  own confidential sources about

            criminal activity  at the prison.   Herring's information had

            invariably turned out to be accurate in the past.


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                  On January 5, 1994,  Herring called the MCC to  provide

            another tip.  Corrections  Officers Charles Baker and Stephen

            Butts,  both responsible  for criminal  investigations within

            the MCC, fielded Herring's call together.  Herring told Baker

            and Butts that he had obtained information that inmate Sharon

            Wood was receiving drugs from the outside.  Herring said that

            he  had been told by  a confidential informant  who, in turn,

            had  heard from an  anonymous source that  Wood was receiving

            drugs during visits, and  that the drugs were being  smuggled

            into  the  prison  in  her  infant  granddaughter's  booties.

            Herring disclosed  to Baker  and Butts that  he had  obtained

            this  information on a second-hand basis, and that at no time

            had Herring spoken directly  to the original anonymous source

            about the tip.  Herring  himself had no personal knowledge of

            Sharon Wood or the persons who were supposedly bringing drugs

            to her.  Herring did not provide Baker or Butts with the name

            of either  his confidential informant or  the original source

            of the tip.2

                  Soon after  the phone  call, Officer  Baker prepared  a

            written  report of  the conversation  with Herring.   Baker's

            report,  however, contained  an important  inaccuracy.   That

            inaccuracy may be what ultimately allowed the strip search to

            take place.   The report  implied that the  information about


                                
            ____________________

            2.  The record does not clearly indicate whether Herring ever
            knew the identity of the original tipster.

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                                          4















            Wood  had  been  provided  to  Herring  by  two  independent,
                                                             ___________

            mutually corroborating confidential informants:
                                   _______________________

                  Det Peter Herring  advised Butts  and Baker  that
                  he received  information from  two separate  CI's
                  that prisoner Sharon  Wood (Dorm 2)  is allegedly
                  receiving drugs  during visits.  Supposedly,  the
                  drugs   are  hidden   in  Wood's  granddaughter's
                  booties.    Security projects  office  to monitor
                  and   will   request   appropriate  action   when
                  required.

            Thus,  by   indicating  that   two   unconnected  "CI's"   --
                                           ___

            confidential  informants  -- had  provided  Detective Herring

            with  the  same  information,  Baker's  report  significantly

            overrepresented the actual reliability of Herring's tip.

                  Five days later,  on January 10, 1994,  defendant James

            R.  Clemons, Superintendent of  the MCC,  met with  Baker and

            Butts  to conduct  their  regular weekly  review of  security

            matters at the prison.  At this meeting, Clemons read Baker's

            report of  the information  received from Detective  Herring.

            It is undisputed that,  as a result of reviewing  the report,

            Clemons  came  to believe  in  good faith  that  two separate

            confidential sources had provided Herring  with precisely the

            same tip concerning drug-smuggling by Sharon Wood's visitors.

            Clemons  signed Baker's  report  to acknowledge  that he  had

            reviewed it and to confirm that the  security projects office

            run by Baker and Butts would monitor the situation and notify

            Clemons if  and when  any further action  became appropriate.

            Following  the  January  10  meeting,  no  one  at  the  MCC,

            including Clemons, conducted  any additional investigation or


                                         -5-
                                          5















            follow-up concerning the Herring tip.  No action was taken on

            the tip prior to the plaintiffs' next visit to the MCC.

                  That visit  came on February  22, 1994.   At 10:00 a.m.

            that  morning,  Officer Baker  noticed  the  names of  Wood's

            children  on  the  prison  visitor  schedule  for  that  day.

            Recalling  the  phone  conversation  with  Peter  Herring  on

            January 5, Baker paged Superintendent Clemons, who was at his

            home, to request authorization to  conduct a strip search  of

            the  visitors based on the Herring tip.  About twenty minutes

            later,  Clemons responded  to Baker's  page and  authorized a

            strip search of Wood's scheduled visitors.  Baker then called

            Detective  Herring to  inform  him of  the impending  search.

            Herring agreed to stand by in case arrests had to be made.

                  Katrina  and  Phillip  Thamert,  Katrina's  baby,   and

            Michelle  Hatch arrived  at  the prison  at  about 1:20  p.m.

            After Katrina, Phillip and  Michelle signed in, Officer Baker

            and another officer took  them aside and told them  that they

            would  have to submit to a search for contraband drugs before

            they would be  permitted to  see Sharon Wood.   Baker read  a

            "consent  to search" form  to the visitors,  advising them of

            their constitutional rights to refuse  to give consent and to

            require the prison to obtain search warrants, and to withdraw

            consent  at any time prior  to the conclusion  of the search.

            The form also said that if the visitors refused to consent to

            the  search, their  visiting privileges would  be immediately



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                                          6















            and indefinitely  terminated.  Neither Baker  nor the consent

            form  made clear that the  search to which  the visitors were

            being  asked  to consent  was a  strip  search.   After Baker

            finished reading,  each of Wood's visitors  (except the baby)

            signed a consent form.

                  Katrina Thamert and  her baby  were then  taken by  two

            female officers to  a private bathroom, and Phillip was taken

            by  two  male  officers  to  a  private storage  room,  while

            Michelle Hatch  waited in the  main reception area.   Katrina

            was asked to remove  her baby's clothing and diaper.   One of

            the  two  female officers  visually  inspected  the baby  and

            checked  the   baby's  clothes  and  diaper  for  contraband.

            Katrina  held  her baby  at  all times,  and  neither officer

            touched the baby during the search.  Katrina was then told to

            put the baby's clothes back on.  Although there were no drugs

            found on the baby or her clothing, the searches continued.

                  In the storage room,  Phillip was told by the  two male

            officers to take off his clothing, and he did so.  One of the

            male  officers  searched  through his  clothing  and visually

            inspected his  mouth and ears.  He was asked to lift his arms

            and his  genitals.   Neither officer  touched Phillip  at any

            time.   He was then permitted to  dress and was taken back to

            the reception area.

                  Phillip  held  Katrina's  baby  in  the  reception area

            while  Katrina was searched in the bathroom by the two female



                                         -7-
                                          7















            officers.  After removing her clothing, she was asked to lift

            her breasts,  and then was told  to squat and cough.   One of

            the  officers manually  searched  her clothing  and  visually

            inspected  her mouth  and  ears.    Neither of  the  officers

            touched  Katrina during  the search.   She  was permitted  to

            dress  and return to the reception area.  The female officers

            then  escorted  Michelle Hatch  into  the  bathroom and  went

            through the same procedure as they had with Katrina.

                  None of the  searches having turned up  contraband, the

            visitors  were  permitted  to  see  Sharon  Wood.    Katrina,

            Phillip,  and Michelle  told Wood  about the  strip searches.

            Following the  visit, Wood  filed an internal  grievance with

            the  MCC.   After an  internal investigation,  Superintendent

            Clemons responded  to Wood  with a memorandum  asserting that

            the strip searches had not violated any prison  regulation or

            policy.   Shortly thereafter,  the Commissioner of  the Maine

            Department of  Corrections affirmed Clemons'  decision.  This

            lawsuit followed.


                                          II

                  The plaintiffs'  amended complaint  sought damages,  an

            injunction, and  declaratory relief for a  variety of alleged

            constitutional violations and common law torts arising out of

            the strip searches.  The district court, on cross-motions for

            summary judgment  and partial  summary judgment,  granted the

            defendants' motion  for summary judgment in  its entirety and


                                         -8-
                                          8















            denied the plaintiffs' motions for class certification and to

            file a second amended complaint.

                  The plaintiffs appeal solely from the district  court's

            entry of judgment in  favor of defendant Clemons as  to their

            claim  for   damages  under    1983  based   on  his  alleged

            violations of  the plaintiffs' Fourth Amendment  rights.  The

            only question in  this appeal is  whether the district  court

            correctly  concluded  that Clemons  is entitled  to qualified

            immunity from  the  plaintiffs' damages  claim under    1983.

            The  plaintiffs  argue  that   Clemons  is  not  entitled  to

            qualified immunity here,  because any reasonable  official in

            Clemons' position would have  known that the Fourth Amendment

            does not  permit officials to undertake a  strip search based

            on  an uncorroborated  tip received  from a  single anonymous

            source.

                  We  review  the  district  court's  grant   of  summary

            judgment de novo.   See St.  Hilaire v.  City of Laconia,  71
                     _______    ___ ____________     _______________

            F.3d 20, 24 (1st  Cir. 1995), cert. denied, 64  U.S.L.W. 3849
                                          _____ ______

            (1996).    The ultimate  question of  whether a  defendant is

            entitled,  on  a given  set of  facts,  to the  protection of

            qualified  immunity is  a question  of law  for the  court to

            decide.   See id. at 24 n.1;  Prokey v. Watkins, 942 F.2d 67,
                      ___ ___             ______    _______

            73  (1st Cir.  1990); Cortes-Quinones  v. Jimenez-Nettleship,
                                  _______________     __________________

            842  F.2d 556,  561 (1st  Cir.), cert.  denied, 488  U.S. 823
                                             _____  ______

            (1988).



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                                         III

                  The "touchstone" of the qualified immunity  question is

            the  concept  of  "objective  legal  reasonableness."     See
                                                                      ___

            Anderson  v. Creighton, 483 U.S.  635, 639 (1987).   Could an
            ________     _________

            objectively  reasonable official,  situated similarly  to the

            defendant, have believed that his conduct did not violate the

            plaintiffs'   constitutional  rights,  in  light  of  clearly

            established  law  and   the  information  possessed  by   the

            defendant at the time of the allegedly wrongful conduct?  See
                                                                      ___

            Hegarty v. Somerset  County, 53 F.3d  1367, 1373 (1st  Cir.),
            _______    ________________

            cert. denied, 116 S. Ct. 675 (1995); Singer v. Maine, 49 F.3d
            _____ ______                         ______    _____

            837,  844 (1st Cir. 1995).  Here, the plaintiffs contend that

            Clemons'  conduct  --  authorizing   the  strip  searches  --

            violated their  clearly established  rights under  the Fourth

            Amendment and fell below the operative threshold of objective

            legal reasonableness.

                  Clemons disputes the  plaintiffs' position  both as  to

            the level  of suspicion required to justify strip searches of

            prison visitors, and as to when the legal rule embracing that

            level  of suspicion  became "clearly  established."3   On the

                                
            ____________________

            3.  Clemons,  appropriately, makes  no serious  argument that
            the plaintiffs' signing of the  "consent to search" forms  on
            the day of the visit constitutionally justified the searches.
            See  Cochrane v. Quattrocchi, 949 F.2d 11, 14 (1st Cir. 1991)
            ___  ________    ___________
            ("[A]  prison visitor  confronted  with  the  choice  between
            submitting  to  a strip  search  or foregoing  [sic]  a visit
            cannot provide  a 'legally cognizable consent,'"  because "it
            is  the very choice to  which [the visitor]  [is] put that is
            constitutionally  intolerable."  (quoting Blackburn  v. Snow,
                                                      _________     ____

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            first  issue,  we agree  with the  plaintiffs that  a prison-

            visitor strip  search  must be  predicated  upon  "reasonable

            suspicion."  Finding no need  to resolve the second question,

            however,  we  conclude  that  the defendant  is  entitled  to

            qualified immunity on the record here, accepting arguendo the
                                                             ________

            plaintiffs'  contention as  to when  the relevant  law became

            clearly established.


                                          A

                  We  begin  by  examining  the   nature  of  the  Fourth

            Amendment protections  to which the plaintiffs  were entitled

            as  visitors to  the  MCC.   Although  a generous  amount  of

            deference is given to prison  officials on matters of  prison

            safety, security, and discipline, see, e.g., Bell v. Wolfish,
                                              ___  ____  ____    _______

            441 U.S. 520, 547-48 (1979), it is clear that visitors do not

            relinquish their Fourth Amendment rights at the prison gates.

            See Blackburn v.  Snow, 771  F.2d 556, 563  (1st Cir.  1985).
            ___ _________     ____

            Prison visitors retain the right to be free from unreasonable

            searches and seizures.  Cochrane v. Quattrocchi, 949 F.2d 11,
                                    ________    ___________

            13 (1st Cir.  1991), cert. denied, 504 U.S. 985  (1992).  The
                                 _____ ______

            meaning of "reasonableness" for Fourth Amendment purposes  is

            highly situational.    A search  that  is reasonable  in  the

            prison environment may not be in other contexts less "fraught

            with serious security dangers."  Bell, 441 U.S. at 559.   The
                                             ____

                                
            ____________________

            771  F.2d 556, 568, 569  (1st Cir. 1985)),  cert. denied, 504
                                                        _____ ______
            U.S. 985 (1992).

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                                          11















            standard of "reasonableness" that governs searches in a given

            context depends, in general, upon a balancing of "the need to

            search  against  the  invasion  which  the  search  entails."

            Camara v.  Municipal Court, 387 U.S. 523,  536-37 (1967); see
            ______     _______________                                ___

            also Blackburn, 771 F.2d at 564.
            ____ _________

                  In the  volatile  context  of  a prison,  the  need  to

            preserve internal  security is  very strong.   See Blackburn,
                                                           ___ _________

            771 F.2d at 562  (quoting Hudson v. Palmer, 468 U.S. 517, 526
                                      ______    ______

            (1984)).  Prison  officials may  well have a  need to  search

            visitors  in some manner in order to prevent the smuggling of

            contraband (such as  drugs or  weapons) to inmates.   On  the

            other  side   of  the   balance,  people  naturally   have  a

            "diminished expectation of privacy" when they enter a prison,

            Blackburn, 771 F.2d at  564, and so "those visiting  a prison
            _________

            cannot  credibly claim to carry with them the full panoply of

            rights  they normally enjoy," id.  at 563; see  also Spear v.
                                          ___          _________ _____

            Sowders,  71  F.3d  626,  630  (6th  Cir.  1995)  (discussing
            _______

            constitutionality of routine visitor searches).

                  However, a strip search can  hardly be characterized as

            a  routine procedure  or as  a  minimally intrusive  means of

            maintaining prison  security.   Indeed, "'a strip  search, by

            its  very  nature,  constitutes  an  extreme  intrusion  upon

            personal privacy, as well as an offense to the dignity of the

            individual.'"   Cochrane, 949 F.2d  at 13  (quoting Burns  v.
                            ________                            _____

            Loranger,   907  F.2d   233,  235   n.6  (1st   Cir.  1990)).
            ________



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            Accordingly, a  strip search cannot be  justified absent some

            quantum of individualized suspicion.  See Blackburn, 771 F.2d
                       ________________________   ___ _________

            at 564-65  (invalidating as unconstitutional  a prison policy

            requiring  strip  searches   of  all  visitors   without  any
                                                                      ___

            particularized suspicion of illegal activity).

                  In determining  the level  of individualized  suspicion
                                      _____

            against which to test the constitutionality of prison-visitor

            strip  searches with a  view to  striking the  proper balance

            between  respecting the  legitimate  privacy expectations  of

            prison  visitors and  the need  to maintain  prison security,

            courts have converged upon one common benchmark: the standard

            of "reasonable suspicion."   See Spear, 71 F.3d at  630; Romo
                                         ___ _____                   ____

            v. Champion, 46  F.3d 1013, 1020  (10th Cir.), cert.  denied,
               ________                                    _____  ______

            116 S. Ct. 387  (1995); Daugherty v. Campbell, 935  F.2d 780,
                                    _________    ________

            787 (6th  Cir. 1991) (Daugherty  I), cert.  denied, 502  U.S.
                                  ____________   _____  ______

            1060 (1992); Thorne v.  Jones, 765 F.2d 1270, 1277  (5th Cir.
                         ______     _____

            1985), cert. denied, 475 U.S.  1016 (1986); Hunter v.  Auger,
                   _____ ______                         ______     _____

            672 F.2d 668, 674 (8th Cir. 1982); accord Varrone v. Bilotti,
                                               ______ _______    _______

            867  F. Supp.  1145, 1149  (E.D.N.Y. 1994).   This  court has

            similarly  identified  the  reasonable   suspicion  standard,

            albeit  in  another   context,  as  the  one   by  which  the

            constitutionality  of  a strip  search should  be determined.

            See United  States v. Uricoechea-Casallas, 946  F.2d 162, 166
            ___ ______________    ___________________

            (1st Cir. 1991) (stating, in context of border searches, that

            "[w]here a search is  not routine (e.g., a strip  search), we
                                               ____



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            have  applied the  'reasonable suspicion'  standard." (citing

            UnitedStates v. Wardlaw, 576F.2d 932, 934-35(1st Cir. 1978)).
            ____________    _______

                  Without  deciding  the  question  whether  or  when the

            reasonable suspicion standard  became clearly established  in

            the  prison   visitor  context  in  this   circuit,4  we  now

            explicitly state  that "reasonable  suspicion" is  indeed the

            proper standard  by which  to gauge the  constitutionality of

            prison-visitor strip searches.  That  standard guards against

            arbitrary  or  clearly  unfounded  searches  by placing  non-

            trivial constraints  upon the ability of  prison officials to

            strip  search visitors,  see Daugherty  v. Campbell,  33 F.3d
                                     ___ _________     ________

            554,  556-57 (6th  Cir.  1994) (Daugherty  II) (holding  that
                                            _____________

            uncorroborated  tips without  indicia of  reliability do  not

            create  reasonable suspicion), but  avoids unduly restricting

            prison   officials   in   responding   to  the   demands   of

            institutional  security.   The reasonable  suspicion standard

            thus  preserves  an  appropriate  balance  between  visitors'

            legitimate privacy  interests and  the  government's need  to

            search.    In  sum,   prison  officials  violate  the  Fourth

                                
            ____________________

            4.  Clemons  contends that the  reasonable suspicion standard
            was not clearly  established in this  circuit as of  February
            1994.   He  observes  that this  court,  in its  most  recent
            published opinion addressing the  issue before that time, had
            reserved   the  question,  saying  only  that  visitor  strip
            searches   require   "some   as-yet   undefined   'level   of
            individualized  suspicion.'"    Cochrane,  949  F.2d  at  13.
                                            ________
            Plaintiffs  contend that despite  the statement  in Cochrane,
                                                                ________
            decisions  in other circuits had made  clear by February 1994
            that   "reasonable  suspicion"   was  indeed   the  governing
            standard.

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                                          14















            Amendment  when  they undertake  a strip  search of  a prison

            visitor  without reasonable  suspicion of  circumstances that

            justify  the  search.   The  concrete  meaning of  reasonable

            suspicion turns on the facts of each particular case.


                                          B

                  Plaintiffs can  overcome the  defendant's assertion  of

            the qualified immunity defense  only by showing that Clemons'

            conduct  was  objectively  unreasonable in  light  of clearly

            established law.  Assuming, without deciding, for purposes of

            our analysis here, that the reasonable suspicion standard was

            clearly  established law by the  date on which the plaintiffs

            were strip searched, we conclude that Clemons  is entitled to

            qualified immunity.   A  reasonable official in  his position

            could have believed that  there was reasonable suspicion that

            the plaintiffs would be bringing drugs to Sharon Wood.5

                  A  "reasonable suspicion"  of  wrongdoing is  something

            stronger  than a mere "hunch," Terry  v. Ohio, 392 U.S. 1, 22
                                           _____     ____

            (1967),  but  something  weaker  than probable  cause.    See
                                                                      ___

            Alabama v. White, 496 U.S. 325, 330 (1990); Spear, 71 F.3d at
            _______    _____                            _____

            630.    At  a  minimum,  the  reasonable  suspicion  standard

            requires that the decision to search be  based on articulable

            factual  information  bearing  at   least  some  indicia   of


                                
            ____________________

            5.  Plaintiffs  do  not  argue   that  the  Fourth  Amendment
            required the  strip searches  to be predicated  on any  basis
            stronger than reasonable suspicion.

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                                          15















            reliability.    See, e.g.,  White,  496 U.S.  at  330; United
                            ___  ____   _____                      ______

            States  v.  Sokolow,   490  U.S.  1,  7  (1989).     However,
            ______      _______

            "reasonable suspicion can arise from information that is less

            reliable than that required to show probable cause."   White,
                                                                   _____

            496  U.S. at 330.  Although an anonymous tip, standing alone,

            may  typically  fail  to   create  reasonable  suspicion,  an

            anonymous tip that  is corroborated in some measure by actual

            facts or  by other sources may be enough.  See id. at 329-31;
                                                       ___ ___

            United States v. Walker, 7 F.3d 26, 31  (2d Cir. 1993), cert.
            _____________    ______                                 _____

            denied, 114 S. Ct. 1201 (1994); United States v. McBride, 801
            ______                          _____________    _______

            F.2d  1045, 1047-48 (8th  Cir. 1986), cert.  denied, 479 U.S.
                                                  _____  ______

            1100 (1987).

                  Here, plaintiffs  argue that  the hearsay tip  received

            by Detective Herring from his confidential informant, who had

            heard it from an anonymous source, did not provide reasonable

            suspicion, and that no reasonable official could have thought

            differently.   The difficulty  with this argument  is that it

            seeks to  defeat Clemons' claim  of immunity by  charging him

            with  notice of facts that were not  actually known to him at

            the time he made the decision to authorize the searches.

                  The issue  on appeal  is whether  Clemons, and not  any

            other  defendant  or  potential  defendant,  is  entitled  to

            qualified  immunity.    The  inquiry must  focus  on  whether

            Clemons  himself acted as a reasonable  official might.  That

            determination  can  only be  made  "in  light  of  . . .  the



                                         -16-
                                          16















            information  [that  Clemons] possessed  at  the  time of  his

            allegedly  unlawful conduct."   McBride  v. Taylor,  924 F.2d
                                            _______     ______

            386, 389 (1st Cir. 1991); see also Anderson, 483 U.S. at 641;
                                      ________ ________

            Prokey, 942  F.2d at  72.   Here,  there is  no dispute  that
            ______

            Clemons was  told by  his staff  and genuinely  believed that

            Detective   Herring   had   learned  from   two   unconnected
                                                        _________________

            confidential  informants that  Sharon  Wood's  visitors  were
            ________________________

            smuggling drugs into the MCC in her granddaughter's booties.

                  The plaintiffs  respond by  arguing that  Clemons acted

            unreasonably  in accepting  Baker's  report as  true  without

            conducting further  investigation.   We disagree.   While the

            mistake  that led  to  Clemons being  misinformed  as to  the

            nature of  the tip is not  to be condoned, we  cannot say, on

            the totality of the circumstances  of this case, that Clemons

            was unjustified  in accepting Officer Baker's  report at face

            value.     Over  the   course  of  their   five-year  working

            relationship, Clemons had grown to trust Baker to provide him

            with  reliable information on investigatory matters.  Indeed,

            Clemons  testified at  his deposition  that Baker  had always

            provided  him  with  accurate information  and,  in  Clemons'

            estimation, was "not one to make assumptions."  Similarly, in

            Clemons' experience, information provided by Peter Herring to

            the  MCC in  a large  number of  previous investigations  had

            always turned out to  be accurate, and Clemons had  thus come

            to consider Herring  himself to be a reliable and trustworthy



                                         -17-
                                          17















            source of information.   The  plaintiffs do  not allege  that

            Clemons' general trust in Baker or in Herring was unjustified

            or misplaced.

                  It  is  only  fair  to  conclude  that  Clemons  had  a

            reasonable  basis  to  believe  that  the  tip  about  Wood's

            visitors -- as reported in Baker's memorandum --  had already

            been tested for  reliability by both  Herring and Baker,  and

            that there was no need for Clemons himself to conduct further

            investigation  into  the  tip's  sources.   And,  if  Clemons

            reasonably believed that the  tip, as reported, was reliable,

            it  would  be inconsistent  with  the  basic  purpose of  the

            qualified immunity defense --  i.e., to protect an official's
                                           ____

            reasonable  judgments  from post  hoc  attack  -- to  deprive
                                        _________

            Clemons  of that defense merely because the nature of the tip

            was, through  no fault of  his own,  erroneously reported  to

            him.6  See  United States  v. Hensley, 469  U.S. 221,  232-33
                   ___  _____________     _______

            (1985)  (explaining   that  police  officers   who  make   an

            investigatory stop  based  on  defensible  reliance  upon  an

            erroneous police  bulletin may assert immunity  in civil suit


                                
            ____________________

            6.  There  is  no  suggestion   here  that  prison  officials
            deliberately  or  systematically  misreported information  to
            Clemons in order to obtain authorizations for strip searches.
            Cf. Arizona v. Evans, 115 S. Ct. 1185, 1194 (1995) (O'Connor,
            ___ _______    _____
            J., concurring)  (observing that  even though the  good faith
            exception  to the  exclusionary rule  applied where  a police
            officer reasonably relied on  an erroneous computer record in
            making a  false arrest, the same might  not be true where the
            computer records relied upon  were known to be systematically
            inaccurate).

                                         -18-
                                          18















            for  Fourth Amendment  violations); cf.  United States  v. De
                                                ___  _____________     __

            Leon-Reyna, 930 F.2d  396, 399-400 (5th Cir. 1991)  (en banc)
            __________

            (border officer's reliance  on erroneous information provided

            by  dispatcher  may  be  objectively  reasonable  for  Fourth

            Amendment  purposes,  even  if  error was  partly  result  of

            officer's own negligence).

                  Once we accept that Clemons  defensibly relied upon the

            contents  of  Baker's  report   in  making  the  decision  to

            authorize the  strip searches,  this case  can  no longer  be

            viewed (as plaintiffs would characterize it)  as one in which

            an  official knowingly relied on an uncorroborated, anonymous

            tip in carrying  out a search.  Cf. Daugherty  II, 33 F.3d at
                                            ___ _____________

            557  (rejecting qualified  immunity  defense  where  official

            authorized strip  search of  prison visitor based  on letters

            from "an  anonymous inmate  and . . . a  non-existent person"

            and  an uncorroborated assertion  of a corrections officer7).

            Instead, Clemons' authorization of  the searches was based on

            a  tip he believed had been received from two unconnected yet


                                
            ____________________

            7.  In Daugherty  II, the defendant warden  conceded that the
                   _____________
            letters did  not form  a basis for  reasonable suspicion  but
            contended that he was  entitled to rely on the  statements of
            the corrections officer.  See id. at 557.  However, there was
                                      ___ ___
            no indication in that case that the warden had any reason  to
            be unaware  of the information's unreliability  or to believe
            that  the officer's  statements  (unlike Detective  Herring's
            statements  here)  were  independently trustworthy.    In any
            event, in rejecting the  warden's argument, the Sixth Circuit
            stated,  "we do not impose  a duty on  wardens to investigate
            the  reliability of all their officers' conclusions."  Id. at
                                                                   ___
            557.

                                         -19-
                                          19















            mutually  corroborating confidential informants, both of whom

            Clemons believed had made the highly specific allegation that

            visitors  were hiding  drugs in  an infant's  booties for  an

            inmate who  was serving time for a  drug conviction.  Nor can

            we ignore  that Clemons' assessment of  the tip's reliability

            was  favorably affected  by  his awareness  that it  had been

            delivered to the MCC  by Peter Herring,  who, to the best  of

            Clemons'   knowledge,  had   never  before   provided  prison

            officials with information that had turned out to be false.

                  Viewed  in  this light,  it  is difficult  to  say that

            Clemons'  decision to authorize the searches was "objectively

            legally unreasonable."   Anderson, 483 U.S. at  641.  Mindful
                                     ________

            that "'if there  is a  legitimate question as  to whether  an

            official's  conduct  constitutes a  constitutional violation,

            the official is entitled  to qualified immunity,'" Singer, 49
                                                               ______

            F.3d at  845 (internal quotations omitted),  we conclude that

            Clemons  is entitled to the  protection of that  defense.  An

            objectively  reasonable official,  presented with all  of the

            information  in Clemons'  possession and  similarly situated,

            could  very well have believed that there existed a basis for

            reasonable suspicion that Wood's  visitors would be smuggling

            drugs into the MCC.8  Cf.  United States v. Wangler, 987 F.2d
                                  ___  _____________    _______


                                
            ____________________

            8.  Plaintiffs do  not raise,  and we therefore  deem waived,
            any  argument that  the  tip's focus  on  the baby's  booties
            precluded  the existence  of  individualized suspicion  as to
            Katrina Thamert, Phillip Thamert, or Michelle Hatch.

                                         -20-
                                          20















            228,  230  (5th  Cir.  1993) (information  provided  by  "two

            unconnected informants" contributed  to reasonable  suspicion

            that suspect was carrying drugs).9


                                          IV

                  We  conclude  that  defendant  Clemons  is entitled  to

            qualified immunity  from personal liability  for his  alleged

            violation  of the plaintiffs' constitutional right, as prison

            visitors,  not to  be strip  searched except  upon reasonable

            suspicion that  they were  carrying contraband.   Clemons, in

            defensible reliance on written information provided to him by

            a  trusted prison  official, believed  in good  faith  that a

            police  detective  with  a  proven track  record  of  feeding

            invariably accurate  investigative information to  the prison

            had  learned that two unconnected confidential informants had
                              ___

            separately reported  the same highly specific allegation that

            the visitors  of a named  female inmate were  smuggling drugs

                                
            ____________________

            9.  Of  course,  to  say  such  a  belief  would  have   been
            reasonable  is not to imply  that it would  have been legally
            correct.  Lowinger  v. Broderick,  50 F.3d 61,  65 (1st  Cir.
                      ________     _________
            1995)  ("[E]ven  erroneous  decisions  by  officials  may  be
            entitled to qualified immunity."); Rivera v. Murphy, 979 F.2d
                                               ______    ______
            259, 263  (1st Cir. 1992) ("'The  qualified immunity standard
            gives ample room for mistaken judgments by protecting all but
            the plainly  incompetent or  those who knowingly  violate the
            law.'"  (quoting Hunter v.  Bryant, 502 U.S.  224, 229 (1991)
                             ______     ______
            (per   curiam)   (internal  quotation   marks   and  citation
            omitted)).  Although we  sustain the defendant's assertion of
            the qualified immunity  defense, we express no  opinion as to
            the legal "correctness" of  any belief that Clemons  may have
            had  (based  on the  facts as  he  knew them)  concerning the
            existence of  reasonable suspicion that  the plaintiffs  were
            engaged in illegal activity.

                                         -21-
                                          21















            into the prison  in her infant  granddaughter's booties.   On

            the record  before us, an objectively  reasonable official in

            possession  of  this   information  and  otherwise  similarly

            situated to  Clemons could have decided  there was reasonable

            suspicion  to believe  that Sharon  Wood's visitors  would be

            smuggling  drugs into the MCC.   The district court therefore

            properly  granted  summary  judgment in  favor  of  defendant

            Clemons.


                  Affirmed.  No costs.
                  _________  _________


































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